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        PLANT and JOHN PAUL JONES
   14
   15                       UNITED STATES DISTRICT COURT
   16                     CENTRAL DISTRICT OF CALIFORNIA
   17                              WESTERN DIVISION
   18   MICHAEL SKIDMORE, etc.,               )   Case No. 2:15-cv-03462 RGK (AGRx)
                                              )
   19              Plaintiff,                 )
                                              )   JOINT PROPOSED JURY
   20        vs.                              )   INSTRUCTIONS
                                              )
   21   LED ZEPPELIN, et al.,                 )
                                              )   Date: May 10, 2016
   22              Defendants.                )   Time: 9:00 a.m.
                                              )
   23                                         )       Courtroom of the Honorable
                                                           R. Gary Klausner
   24                                                 United States District Judge
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    1         Pursuant to the Court’s Order for Jury Trial, plaintiff Michael Skidmore and
    2   defendants James Patrick Page, Robert Anthony Plant, Warner/Chappell Music, Inc.,
    3   Atlantic Recording Corporation and Rhino Entertainment Company submit the
    4   following joint proposed jury instructions.
    5         The parties respectfully reserve the right to modify or supplement the
    6   following jury instructions and propose additional or different jury instructions.
    7         Plaintiff objects to the reading of instructions to the jury before trial and does
    8   not waive any objections to the language in instructions that state or imply
    9   instructions are being read to the jury before trial.
   10
   11   Dated: April 22, 2016                            /s/ Peter J. Anderson
                                                        Peter J. Anderson, Esq.
   12                                            LAW OFFICES OF PETER J. ANDERSON
                                                      A Professional Corporation
   13                                                  Attorney for Defendants
                                                   JAMES PATRICK PAGE, ROBERT
   14                                            ANTHONY PLANT, JOHN PAUL JONES,
                                                   WARNER/CHAPPELL MUSIC, INC.,
   15                                              SUPER HYPE PUBLISHING, INC.,
                                                 ATLANTIC RECORDING CORP., RHINO
   16                                              ENTERTAINMENT COMPANY and
                                                    WARNER MUSIC GROUP CORP.
   17
   18                                                     Helene M. Freeman, Esq.
                                                           PHILLIPS NIZER LLP
   19                                                     Attorney for Defendants
                                                         JAMES PATRICK PAGE,
   20                                                 ROBERT ANTHONY PLANT and
                                                            JOHN PAUL JONES
   21
   22   Dated: April 22, 2016                            /s/ Francis Alexander Malofiy
   23                                                  Francis Alexander Malofiy, Esq.
                                                       FRANCIS ALEXANDER, LLC
   24                                                        Attorney for Plaintiff
                                                          MICHAEL SKIDMORE,
   25                                             As Trustee of the Randy Craig Wolfe Trust

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    1                                                 Glen L. Kulik, Esq.
                                            KULIK GOTTESMAN & SIEGEL LLP
    2                                                Attorney for Plaintiff
                                                   MICHAEL SKIDMORE,
    3                                      As Trustee of the Randy Craig Wolfe Trust
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    2   JURY INSTRUCTIONS
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    6                                               Instructions (“9th Cir
    7                                               Manual”) 1.1B
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    9                                               (modified).
   10     4      BURDEN OF PROOF—                   9th Cir. Manual 1.3.       3
   11            PREPONDERANCE OF THE
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   13     5      TWO OR MORE PARTIES—               9th Cir. Manual 1.5        4
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   23     10     RULING ON OBJECTIONS               9th Cir. Manual 1.10.     10
   24     11     CREDIBILITY OF WITNESSES           9th Cir. Manual 1.11.     11
   25
   26     12     CONDUCT OF THE JURY                9th Cir. Manual 1.12      13
   27                                               (modified).
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    3            TO JURY
    4     16     BENCH CONFERENCES AND              9th Cir. Manual No.       17
    5            RECESSES                           1.17 (modified).
    6     17     OUTLINE OF TRIAL                   9th Cir. Manual 1.18      18
    7                                               (modified).
    8     19     EXPERT OPINION                     9th Cir. Manual 2.13      19
    9                                               (modified).
   10     20     CHARTS AND SUMMARIES               9th Cir. Manual 2.15      20
   11            RECEIVED IN EVIDENCE               (modified)
   12     21     CORPORATIONS AND                   9th Cir. Manual 4.1       21
   13            PARTNERSHIPS—FAIR                  (modified).
   14            TREATMENT
   15     30     COPYING—ACCESS AND                 9th Cir. Manual 17.16     22
   16            SUBSTANTIAL SIMILARITY             (modified).
   17     35     DERIVATIVE LIABILITY—              9th Cir. Manual           23
   18            VICARIOUS INFRINGEMENT—            17.19.
   19            ELEMENTS AND BURDEN OF
   20            PROOF
   21     36     DERIVATIVE LIABILITY—              9th Cir. Manual           24
   22            CONTRIBUTORY                       17.20.
   23            INFRINGEMENT—ELEMENTS
   24            AND BURDEN OF PROOF
   25     43     DUTY TO DELIBERATE                 9th Cir. Manual 3.1.      26
   26     44     CONSIDERATION OF                   9th Cir. Manual 3.2       27
   27            EVIDENCE—CONDUCT OF                (modified).
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    1    No.                    Title                      Source            Page
    2     45     COMMUNICATION WITH                 9th Cir. Manual 3.3       29
    3            COURT                              (modified).
    4     46     RETURN OF VERDICT                  9th Cir. Manual 3.5       30
    5                                               (modified).
    6     47     COPYRIGHT—DAMAGES                  9th Cir. Manual 17.31     31
    7            (17 U.S.C. § 504)                  (modified).
    8     50     COPYRIGHT—DAMAGES—                 9th Cir. Manual 17.34     32
    9            STATUTORY DAMAGES                  (modified).
   10            (17 U.S.C. § 504(c))
   11     51     COPYRIGHT—DAMAGES—                 9th Cir. Manual 17.35     33
   12            INNOCENT INFRINGEMENT              (modified).
   13            (17 U.S.C. § 504(c)(2))
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    1                                  JURY INSTRUCTION NO. 1
    2                                         DUTY OF JURY
    3              (COURT READS INSTRUCTIONS AT THE BEGINNING OF
    4                 TRIAL BUT DOES NOT PROVIDE WRITTEN COPIES)
    5
    6            Members of the jury: You are now the jury in this case. It is my duty to
    7   instruct you on the law.
    8
    9            It is your duty to find the facts from all the evidence in the case. To those facts
   10   you will apply the law as I give it to you. You must follow the law as I give it to you
   11   whether you agree with it or not. And you must not be influenced by any personal
   12   likes or dislikes, opinions, prejudices or sympathy. That means that you must decide
   13   the case solely on the evidence before you. You will recall that you took an oath to
   14   do so.
   15
   16            At the end of the trial I will give you final instructions. It is the final
   17   instructions that will govern your duties.
   18
   19            Please do not read into these instructions, or anything I may say or do, that I
   20   have an opinion regarding the evidence or what your verdict should be.
   21
   22   Source: Ninth Circuit Manual of Model Civil Jury Instructions (“9th Cir Manual”)
   23   1.1B.
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    1                               JURY INSTRUCTION NO. 3
    2                               CLAIMS AND DEFENSES
    3
    4         To help you follow the evidence, I will give you a brief summary of the
    5   positions of the parties:
    6
    7         The plaintiff asserts that defendants infringed a copyright in a musical
    8   composition known as Taurus[plaintiff’s claims]. The plaintiff has the burden of
    9   proving these claims.
   10
   11         The defendants denyies those claims [and also contends that those claims are
   12   barred by various affirmative defenses [defendant’s counterclaims and/or
   13   affirmative defenses]]. [The defendants have has the burden of proving their
   14   affirmative defenses.proof on these [counterclaims and/or affirmative defenses.]]
   15
   16         [The plaintiff denies defendants’ affirmative defenses.[defendant’s
   17   counterclaims and/or affirmative defenses].]
   18
   19   Source: 9th Cir. Manual 1.2 (modified).
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    1                              JURY INSTRUCTION NO. 4
    2         BURDEN OF PROOF—PREPONDERANCE OF THE EVIDENCE
    3
    4         When a party has the burden of proving any claim or affirmative defense by a
    5   preponderance of the evidence, it means you must be persuaded by the evidence that
    6   the claim or affirmative defense is more probably true than not true.
    7
    8         You should base your decision on all of the evidence, regardless of which
    9   party presented it.
   10
   11   Source: 9th Cir. Manual 1.3.
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  1                              JURY INSTRUCTION NO. 5
  2            TWO OR MORE PARTIES—DIFFERENT LEGAL RIGHTS
  3
  4         You should decide the case as to each [plaintiff] [defendant] [party]
  5   separately. Unless otherwise stated, the instructions apply to all parties.
  6
  7   Source: 9th Cir. Manual 1.5 (modified).
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  1                             JURY INSTRUCTION NO. 6
  2                                  WHAT IS EVIDENCE
  3
  4         The evidence you are to consider in deciding what the facts are consists of:
  5         1.    the sworn testimony of any witness;
  6         2.    the exhibits that are admitted into evidence;
  7         3.    any facts to which the lawyers have agreed; and
  8         4.    any facts that I may instruct you to accept as proved.
  9
 10   Source: 9th Cir. Manual 1.6.
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  1                              JURY INSTRUCTION NO. 7
  2                               WHAT IS NOT EVIDENCE
  3
  4         In reaching your verdict, you may consider only the testimony and exhibits
  5   received into evidence. Certain things are not evidence, and you may not consider
  6   them in deciding what the facts are. I will list them for you:
  7
  8         1.     Arguments and statements by lawyers are not evidence. The lawyers are
  9                not witnesses. What they [may say] [have said] in their opening
 10                statements, closing arguments and at other times is intended to help you
 11                interpret the evidence, but it is not evidence. If the facts as you
 12                remember them differ from the way the lawyers have stated them, your
 13                memory of them controls.
 14
 15         2.     Questions and objections by lawyers are not evidence. Attorneys have
 16                a duty to their clients to object when they believe a question is improper
 17                under the rules of evidence. You should not be influenced by the
 18                objection or by the court’s ruling on it.
 19
 20         3.     Testimony that is excluded or stricken, or that you [are] [have been]
 21                instructed to disregard, is not evidence and must not be considered. In
 22                addition some evidence [may be] [was] received only for a limited
 23                purpose; when I instruct you to consider certain evidence only for a
 24                limited purpose, you must do so and you may not consider that
 25                evidence for any other purpose.
 26
 27         4.     Anything you may [see or hear] [have seen or heard] when the court
 28                was not in session is not evidence. You are to decide the case solely on

                                                  6
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  1               the evidence received at the trial.
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  3   Source: 9th Cir. Manual 1.7 (modified).
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  1                             JURY INSTRUCTION NO. 8
  2                        EVIDENCE FOR LIMITED PURPOSE
  3
  4         Some evidence may be admitted only for a limited purpose.
  5
  6         When I instruct you that an item of evidence has been admitted only for a
  7   limited purpose, you must consider it only for that limited purpose and not for any
  8   other purpose.
  9
 10         [The testimony [you are about to hear] [you have just heard] may be
 11   considered only for the limited purpose of [describe purpose] and not for any other
 12   purpose.]
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 14   Source: 9th Cir. Manual 1.8.
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  1                              JURY INSTRUCTION NO. 9
  2                   DIRECT AND CIRCUMSTANTIAL EVIDENCE
  3
  4         Evidence may be direct or circumstantial. Direct evidence is direct proof of a
  5   fact, such as testimony by a witness about what that witness personally saw or heard
  6   or did. Circumstantial evidence is proof of one or more facts from which you could
  7   find another fact. You should consider both kinds of evidence. The law makes no
  8   distinction between the weight to be given to either direct or circumstantial
  9   evidence. It is for you to decide how much weight to give to any evidence.
 10
 11         By way of example, if you wake up in the morning and see that the sidewalk
 12   is wet, you may find from that fact that it rained during the night. However, other
 13   evidence, such as a turned on garden hose, may provide a different explanation for
 14   the presence of water on the sidewalk. Therefore, before you decide that a fact has
 15   been proved by circumstantial evidence, you must consider all the evidence in the
 16   light of reason, experience and common sense.
 17
 18   Source: 9th Cir. Manual 1.9 with comment’s example.
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  1                             JURY INSTRUCTION NO. 10
  2                              RULING ON OBJECTIONS
  3
  4         There are rules of evidence that control what can be received into evidence.
  5   When a lawyer asks a question or offers an exhibit into evidence and a lawyer on the
  6   other side thinks that it is not permitted by the rules of evidence, that lawyer may
  7   object. If I overrule the objection, the question may be answered or the exhibit
  8   received. If I sustain the objection, the question cannot be answered, and the exhibit
  9   cannot be received. Whenever I sustain an objection to a question, you must ignore
 10   the question and must not guess what the answer might have been.
 11
 12         Sometimes I may order that evidence be stricken from the record and that you
 13   disregard or ignore that evidence. That means when you are deciding the case, you
 14   must not consider the stricken evidence for any purpose.
 15
 16   Source: 9th Cir. Manual 1.10.
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  1                                JURY INSTRUCTION NO. 11
  2                              CREDIBILITY OF WITNESSES
  3
  4          In deciding the facts in this case, you may have to decide which testimony to
  5   believe and which testimony not to believe. You may believe everything a witness
  6   says, or part of it, or none of it.
  7
  8          In considering the testimony of any witness, you may take into account:
  9
 10          1.     the opportunity and ability of the witness to see or hear or know the
 11                 things testified to;
 12          2.     the witness’s memory;
 13          3.     the witness’s manner while testifying;
 14          4.     the witness’s interest in the outcome of the case, if any;
 15          5.     the witness’s bias or prejudice, if any;
 16          6.     whether other evidence contradicted the witness’s testimony;
 17          7.     the reasonableness of the witness’s testimony in light of all the
 18                 evidence; and
 19          8.     any other factors that bear on believability.
 20
 21          Sometimes a witness may say something that is not consistent with something
 22   else he or she said. Sometimes different witnesses will give different versions of
 23   what happened. People often forget things or make mistakes in what they
 24   remember. Also, two people may see the same event but remember it differently.
 25   You may consider these differences, but do not decide that testimony is untrue just
 26   because it differs from other testimony.
 27
 28          However, if you decide that a witness has deliberately testified untruthfully
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  1   about something important, you may choose not to believe anything that witness
  2   said. On the other hand, if you think the witness testified untruthfully about some
  3   things but told the truth about others, you may accept the part you think is true and
  4   ignore the rest.
  5
  6         The weight of the evidence as to a fact does not necessarily depend on the
  7   number of witnesses who testify. What is important is how believable the witnesses
  8   were, and how much weight you think their testimony deserves.
  9
 10   Source: 9th Cir. Manual 1.11.
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  1                              JURY INSTRUCTION NO. 12
  2                               CONDUCT OF THE JURY
  3
  4         I will now say a few words about your conduct as jurors.
  5
  6         First, keep an open mind throughout the trial, and do not decide what the
  7   verdict should be until you and your fellow jurors have completed your deliberations
  8   at the end of the case.
  9
 10         Second, because you must decide this case based only on the evidence
 11   received in the case and on my instructions as to the law that applies, you must not
 12   be exposed to any other information about the case or to the issues it involves during
 13   the course of your jury duty. Thus, until the end of the case or unless I tell you
 14   otherwise:
 15
 16         Do not communicate with anyone in any way and do not let anyone else
 17         communicate with you in any way about the merits of the case or anything to
 18         do with it. This includes discussing the case in person, in writing, by phone or
 19         electronic means, via email, text messaging, or any internet chat room, blog,
 20         website or other social media. This applies to communicating with your
 21         fellow jurors until I give you the case for deliberation, and it applies to
 22         communicating with everyone else including your family members, your
 23         employer, the media or press, and the people involved in the trial, although
 24         you may notify your family and your employer that you have been seated as a
 25         juror in the case. But, if you are asked or approached in any way about your
 26         jury service or anything about this case, you must respond that you have been
 27         ordered not to discuss the matter and report the contact to the court.
 28         Because you will receive all the evidence and legal instruction you properly
                                                 13
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  1         may consider to return a verdict: do not read, watch or listen to any news or
  2         media accounts or commentary about the case or anything to do with it; do not
  3         do any research, such as consulting dictionaries, searching the Internet or
  4         using other reference materials; and do not make any investigation or in any
  5         other way try to learn about the case on your own.
  6
  7         The law requires these restrictions to ensure the parties have a fair trial based
  8   on the same evidence that each party has had an opportunity to address. A juror who
  9   violates these restrictions jeopardizes the fairness of these proceedings[, and a
 10   mistrial could result that would require the entire trial process to start over]. If any
 11   juror is exposed to any outside information, please notify the court immediately.
 12
 13   Source: 9th Cir. Manual 1.12 (modified).
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  1                             JURY INSTRUCTION NO. 13
  2                             PUBLICITY DURING TRIAL
  3
  4         If there is any news media account or commentary about the case or anything
  5   to do with it, you must ignore it. You must not read, watch or listen to any news
  6   media account or commentary about the case or anything to do with it. The case
  7   must be decided by you solely and exclusively on the evidence that will be received
  8   in the case and on my instructions as to the law that applies. If any juror is exposed
  9   to any outside information, please notify me immediately.
 10
 11   Source: 9th Cir. 1.13.
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  1                              JURY INSTRUCTION NO. 14
  2                      NO TRANSCRIPT AVAILABLE TO JURY
  3
  4         I urge you to pay close attention to the trial testimony as it is given. During
  5   deliberations you will not have a transcript of the trial testimony.
  6
  7   Source: 9th Cir. Manual 1.14.
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  1                             JURY INSTRUCTION NO. 16
  2                        BENCH CONFERENCES AND RECESSES
  3
  4         From time to time during the trial, it [may become] [became] necessary for me
  5   to talk with the attorneys out of the hearing of the jury, either by having a conference
  6   at the bench when the jury [is] [was] present in the courtroom, or by calling a recess.
  7   Please understand that while you [are] [were] waiting, we [are] [were] working. The
  8   purpose of these conferences is not to keep relevant information from you, but to
  9   decide how certain evidence is to be treated under the rules of evidence and to avoid
 10   confusion and error.
 11
 12         Of course, we [will do] [have done] what we [can] [could] to keep the number
 13   and length of these conferences to a minimum. I [may] [did] not always grant an
 14   attorney’s request for a conference. Do not consider my granting or denying a
 15   request for a conference as any indication of my opinion of the case or of what your
 16   verdict should be.
 17
 18   Source: 9th Cir. Manual No. 1.17 (modified).
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  1                             JURY INSTRUCTION NO. 17
  2                                   OUTLINE OF TRIAL
  3
  4         Trials proceed in the following way: First, each side may make an opening
  5   statement. An opening statement is not evidence. It is simply an outline to help you
  6   understand what that party expects the evidence will show. A party is not required
  7   to make an opening statement.
  8
  9         The plaintiff will then present evidence, and counsel for the defendants may
 10   cross-examine. Then the defendants may present evidence, and counsel for the
 11   plaintiff may cross-examine.
 12
 13         After the evidence has been presented, I will instruct you on the law that
 14   applies to the case and the attorneys will make closing arguments.
 15
 16         After that, you will go to the jury room to deliberate on your verdict.
 17
 18   Source: 9th Cir. Manual 1.18 (modified).
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  1                              JURY INSTRUCTION NO. 19
  2                                    EXPERT OPINION
  3
  4         You [have heard] [are about to hear] testimony from [name] who [testified]
  5   [will testify] to opinions and the reasons for [his] [her] opinions. This opinion
  6   testimony is allowed, because of the education or experience of this witness.
  7
  8         Such opinion testimony should be judged like any other testimony. You may
  9   accept it or reject it, and give it as much weight as you think it deserves, considering
 10   the witness’s education and experience, the reasons given for the opinion, and all the
 11   other evidence in the case.
 12
 13         Some witnesses, because of education or experience, are permitted to state
 14   opinions and the reasons for those opinions.
 15
 16         Opinion testimony should be judged just like any other testimony. You may
 17   accept it or reject it, and give it as much weight as you think it deserves, considering
 18   the witness’s education and experience, the reasons given for the opinion, and all the
 19   other evidence in the case.
 20
 21   Source: 9th Cir. Manual 2.13 (modified).
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  1                             JURY INSTRUCTION NO. 20
  2               CHARTS AND SUMMARIES RECEIVED IN EVIDENCE
  3
  4         Certain charts and summaries [may be] [have been] admitted into evidence to
  5   illustrate information brought out in the trial. Charts and summaries are only as
  6   good as the underlying [information] [admitted evidence] that supports them. You
  7   should, therefore, give them only such weight as you think the underlying evidence
  8   deserves.
  9
 10   Source: 9th Cir. Manual 2.15 (modified).
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  1                             JURY INSTRUCTION NO. 21
  2         CORPORATIONS AND PARTNERSHIPS—FAIR TREATMENT
  3
  4         All parties are equal before the law and a [corporation] [partnership] is
  5   entitled to the same fair and conscientious consideration by you as any party.
  6
  7   Source: 9th Cir. Manual 4.1 (modified).
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  1                              JURY INSTRUCTION NO. 30
  2             COPYING—ACCESS AND SUBSTANTIAL SIMILARITY
  3
  4         I previously instructed you Instruction [insert cross reference to the pertinent
  5   instruction, e.g., Instruction 17.4] states that the plaintiff has the burden of proving
  6   that the creators of Stairway to Heavendefendant copied original elements from the
  7   Taurus musical compositionplaintiff’s copyrighted work. The plaintiff may show
  8   the creators of Stairway to Heavendefendant copied from the Taurus musical
  9   compositionwork by proving by a preponderance of the evidence that the creators of
 10   Stairway to Heavendefendant had access to the Taurus musical
 11   compositionplaintiff’s copyrighted work and that there are substantial similarities
 12   between Stairway to Heaventhe defendant’s work and original elements of the
 13   Taurus musical compositionplaintiff’s work.
 14
 15   Source: 9th Cir. Manual 17.16 (modified).
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  1                              JURY INSTRUCTION NO. 351
  2           DERIVATIVE LIABILITY—VICARIOUS INFRINGEMENT—
  3                        ELEMENTS AND BURDEN OF PROOF
  4
  5         If you find that [name of direct infringer] infringed the plaintiff’s copyright in
  6   [name of allegedly infringed work], you must determine whether [name of alleged
  7   vicarious infringer] vicariously infringed that copyright. The plaintiff has the burden
  8   of proving each of the following elements by a preponderance of the evidence:
  9
 10         1.      the defendant directly benefitted financially from the infringing activity
 11                 of [name of direct infringer];
 12
 13         2.      the defendant had the right and ability to [supervise] [control] the
 14                 infringing activity of [name of direct infringer][; and]
 15
 16         3.      the defendant failed to exercise that right and ability.]
 17
 18         If you find that the plaintiff has proved each of these elements, your verdict
 19   should be for the plaintiff if you also find that [name of direct infringer] infringed
 20   plaintiff’s copyright. If, on the other hand, the plaintiff has failed to prove any of
 21   these elements, your verdict should be for the defendant [name of alleged vicarious
 22   infringer].
 23
 24   Source: 9th Cir. Manual 17.19.
 25
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 27          Since plaintiff has not identified any defendant he contends is vicariously
      liable, this instruction may not be applicable and is submitted conditioned upon
 28   plaintiff identifying a defendant or defendants he contends are vicariously liable.
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  1                              JURY INSTRUCTION NO. 362
  2       DERIVATIVE LIABILITY—CONTRIBUTORY INFRINGEMENT—
  3                        ELEMENTS AND BURDEN OF PROOF
  4
  5         A defendant may be liable for copyright infringement engaged in by another if
  6   [he] [she] [it ] knew or had reason to know of the infringing activity and
  7   intentionally [induced] [materially contributed to] that infringing activity.
  8
  9         If you find that [name of direct infringer] infringed the plaintiff’s copyright in
 10   [allegedly infringed work], you must determine whether [name of alleged
 11   contributory infringer] contributorily infringed that copyright. The plaintiff has the
 12   the burden of proving both of the following elements by a preponderance of the
 13   evidence:
 14
 15         1.     the defendant knew or had reason to known of the infringing activity of
 16                [name of direct infringer]; and
 17
 18         2.     the defendant intentionally [induced] [materially contributed to] [name
 19                of direct infringer’s] infringing activity.
 20
 21         If you find that [name of direct infringer] infringed the plaintiff’s copyright
 22   and you also find that the plaintiff has proved both of these elements, your verdict
 23   should be for the plaintiff. If, on the other hand, the plaintiff has failed to prove
 24   either or both of these elements, your verdict should be for the defendant.
 25
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 27          Since plaintiff has not identified any defendant he contends is contributorily
      liable, this instruction may not be applicable and is submitted conditioned upon
 28   plaintiff identifying a defendant or defendants he contends are contributorily liable.
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  1   Source: 9th Cir. Manual 17.20.
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  1                              JURY INSTRUCTION NO. 43
  2                                DUTY TO DELIBERATE
  3
  4         Before you begin your deliberations, elect one member of the jury as your
  5   presiding juror. The presiding juror will preside over the deliberations and serve as
  6   the spokesperson for the jury in court.
  7
  8         You shall diligently strive to reach agreement with all of the other jurors if
  9   you can do so. Your verdict must be unanimous.
 10
 11         Each of you must decide the case for yourself, but you should do so only after
 12   you have considered all of the evidence, discussed it fully with the other jurors, and
 13   listened to their views.
 14
 15         It is important that you attempt to reach a unanimous verdict but, of course,
 16   only if each of you can do so after having made your own conscientious decision.
 17   Do not be unwilling to change your opinion if the discussion persuades you that you
 18   should. But do not come to a decision simply because other jurors think it is right,
 19   or change an honest belief about the weight and effect of the evidence simply to
 20   reach a verdict.
 21
 22   Source: 9th Cir. Manual 3.1.
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  1                              JURY INSTRUCTION NO. 44
  2          CONSIDERATION OF EVIDENCE—CONDUCT OF THE JURY
  3
  4         Because you must base your verdict only on the evidence received in the case
  5   and on these instructions, I remind you that you must not be exposed to any other
  6   information about the case or to the issues it involves. Except for discussing the
  7   case with your fellow jurors during your deliberations:
  8
  9         Do not communicate with anyone in any way and do not let anyone else
 10         communicate with you in any way about the merits of the case or anything to
 11         do with it. This includes discussing the case in person, in writing, by phone or
 12         electronic means, via email, text messaging, or any Internet chat room, blog,
 13         website or social media application. This applies to communicating with your
 14         family members, your employer, the media or press, and the people involved
 15         in the trial. If you are asked or approached in any way about your jury service
 16         or anything about this case, you must respond that you have been ordered not
 17         to discuss the matter and to report the contact to the court.
 18
 19         Do not read, watch, or listen to any news or media accounts or commentary
 20         about the case or anything to do with it; do not do any research, such as
 21         consulting dictionaries, searching the Internet or using other reference
 22         materials; and do not make any investigation or in any other way try to learn
 23         about the case on your own.
 24
 25         The law requires these restrictions to ensure the parties have a fair trial based
 26   on the same evidence that each party has had an opportunity to address. A juror who
 27   violates these restrictions jeopardizes the fairness of these proceedings[, and a
 28   mistrial could result that would require the entire trial process to start over]. If any
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  1   juror is exposed to any outside information, please notify the court immediately.
  2
  3   Source: 9th Cir. Manual 3.2 (modified).
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  1                             JURY INSTRUCTION NO. 45
  2                         COMMUNICATION WITH COURT
  3
  4         If it becomes necessary during your deliberations to communicate with me,
  5   you may send a note through the [clerk] [bailiff], signed by any one or more of you.
  6   No member of the jury should ever attempt to communicate with me except by a
  7   signed writing. I will not communicate with any member of the jury on anything
  8   concerning the case except in writing or here in open court. If you send out a
  9   question, I will consult with the lawyers before answering it, which may take some
 10   time. You may continue your deliberations while waiting for the answer to any
 11   question. Remember that you are not to tell anyone—including the court—how the
 12   jury stands, whether in terms of vote count or otherwise, until after you have reached
 13   a unanimous verdict or have been discharged.
 14
 15   Source: 9th Cir. Manual 3.3 (modified).
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  1                              JURY INSTRUCTION NO. 46
  2                                  RETURN OF VERDICT
  3
  4         A verdict form has been prepared for you. [Explain verdict form as needed.]
  5   After you have reached unanimous agreement on a verdict, your [presiding juror]
  6   [foreperson] should complete the verdict form according to your deliberations, sign
  7   and date it, and advise the [clerk] [bailiff] that you are ready to return to the
  8   courtroom.
  9
 10   Source: 9th Cir. Manual 3.5 (modified).
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  1                             JURY INSTRUCTION NO. 473
  2                               COPYRIGHT—DAMAGES
  3                                      (17 U.S.C. § 504)
  4
  5         If you find for the plaintiff on the plaintiff’s copyright infringement claim,
  6   you must determine the plaintiff’s damages. The plaintiff is entitled to recover the
  7   actual damages suffered as a result of the infringement. In addition, the plaintiff is
  8   also entitled to recover any profits of the defendants attributable to the infringement.
  9   The plaintiff must prove damages by a preponderance of the evidence.
 10
 11   Source: 9th Cir. Manual 17.31 (modified).
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             Defendants have raised that plaintiff does not have a right to jury trial of his
 25   request for defendants’ profits from the alleged infringement and that, instead, any
      award of defendants’ profits is equitable and tried to the Court. Def. Memo. of
 26   Contentions of Fact & Law (Doc. 157) at 19-20, 21. This and the following
 27   instructions, to the extent referencing or dealing with defendants’ respective `profits,
      are offered as a precautionary measure only and with the full reservation of
 28   defendants’ contention that profits are not triable to a jury.
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  1                             JURY INSTRUCTION NO. 50
  2              COPYRIGHT—DAMAGES—STATUTORY DAMAGES
  3                                    (17 U.S.C. § 504(c))
  4
  5         If you find for the plaintiff on the plaintiff’s copyright infringement claim,
  6   you must determine the plaintiff’s damages. The plaintiff seeks a statutory damage
  7   award, established by Congress for [[the work infringed] [each work infringed]]. Its
  8   purpose is to penalize the infringer and deter future violations of the copyright laws.
  9
 10         The amount you may award as statutory damages is not less than $750, nor
 11   more than $30,000 for each work you conclude was infringed.
 12
 13         [However, if you find the infringement was innocent, you may award as little
 14   as $200 for each work innocently infringed.]
 15
 16         [However, if you find the infringement was willful, you may award as much
 17   as $150,000 for each work willfully infringed.]
 18
 19         [Instructions __ and __[s] [insert number of pertinent instruction, e.g.,
 20   Instruction 17.34 (Innocent Infringement), Instruction 17.35 (Willful Infringement)]
 21   will tell you [what constitutes innocent infringement] [and] [what constitutes willful
 22   infringement]].
 23
 24   Source: 9th Cir. Manual 17.34 (modified).
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  1                              JURY INSTRUCTION NO. 51
  2              COPYRIGHT—DAMAGES—INNOCENT INFRINGEMENT
  3                                   (17 U.S.C. § 504(c)(2))
  4
  5         An infringement is considered innocent when the defendant has proved both
  6   of the following elements by a preponderance of the evidence:
  7
  8         1.     the defendant was not aware that his or its[his] [her] [its] acts
  9                constituted infringement of the copyright; and
 10
 11         2.     the defendant had no reason to believe that his or its[his] [her] [its] acts
 12                constituted an infringement of the copyright.
 13
 14   Source: 9th Cir. Manual 17.35 (modified).
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